     Case 2:12-cr-00049-RMP     ECF No. 522   filed 07/21/15   PageID.2947 Page 1 of 7




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 5
                         UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,
                                                 NO: 2:12-CR-49-RMP-3
 8                            Plaintiff,
           v.                                    ORDER GRANTING DEFENDANT’S
 9                                               MOTION FOR SENTENCE
     SAMUEL WILLIAM WRIGHT,                      REDUCTION
10
                              Defendant.
11

12         BEFORE THE COURT is Samuel William Wright’s (“Wright”) Motion for

13   Sentence Reduction pursuant to 18 U.S.C. § 3582(c) and Amendment 782 to the

14   Sentencing Guidelines, ECF No. 520. The Court has reviewed the motion, the

15   Government’s response, ECF No. 521, and all other relevant filings and is fully

16   informed.

17                                   BACKGROUND

18         On September 4, 2013, Wright pleaded guilty to one count of Distribution of

19   a Mixture or Substance Containing a Detectable Amount of Heroin in violation of

20   21 U.S.C. § 841(a)(1) and (b)(1)(C). ECF No. 446. Wright’s Base Offense Level



     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 1
     Case 2:12-cr-00049-RMP     ECF No. 522    filed 07/21/15   PageID.2948 Page 2 of 7




 1   at the time of sentencing was 22. ECF No. 466 at 9 (Amended Presentence

 2   Investigation Report); see also ECF No. 472 (Statement of Reasons adopting

 3   Presentence Investigation Report without change). At sentencing, this Court

 4   determined that Wright was entitled to a 3-level reduction for acceptance of

 5   responsibility and timeliness pursuant to U.S.S.G. § 3E1.1(a)-(b). See ECF Nos.

 6   466 at 9; 472 at 1. These adjustments resulted in a Total Offense Level of 19. See

 7   ECF No. 472 at 1.

 8         This Court concluded that the range of incarceration for a Total Offense

 9   Level of 19, coupled with Wright’s criminal history category of IV, was 63 – 78

10   months. ECF No. 472 at 1. The Court sentenced Wright to 63 months’

11   incarceration, 3 years of supervised release, a $100.00 special penalty assessment,

12   and no fine. ECF No. 472 at 1.

13         Wright moves for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2),

14   U.S.S.G. § 1B1.10, and Amendment 782. ECF No. 215.

15                                     DISCUSSION

16         A sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) is appropriate

17   when: “(1) the sentence is based on a sentencing range that has subsequently been

18   lowered by the Sentencing Commission; and (2) such reduction is consistent with

19   applicable policy statements issued by the Sentencing Commission.” United States

20   v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (citing 18 U.S.C. § 3582(c)(2)); see



     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 2
     Case 2:12-cr-00049-RMP      ECF No. 522     filed 07/21/15   PageID.2949 Page 3 of 7




 1   also Dillon v. United States, 560 U.S. 817, 821 (2010) (“Any reduction must be

 2   consistent with applicable policy statements issued by the Sentencing

 3   Commission.”). The policy statement detailed in U.S.S.G. § 1B1.10 identifies the

 4   amendments that may be applied retroactively and describes the procedure for

 5   implementing the retroactive amendments. U.S.S.G. § 1B1.10(d).

 6         Courts engage in a two-step inquiry in determining whether a sentence

 7   reduction pursuant to 18 U.S.C. § 3582(c)(2) is proper. Dillon, 560 U.S. at 826.

 8   “A court must first determine that a reduction is consistent with [U.S.S.G.] §

 9   1B1.10 before it may consider whether the authorized reduction is warranted,

10   either in whole or in part, according to the factors set forth in 18 U.S.C. § 3553(a).”

11   Id. Importantly, however, a sentencing reduction pursuant to 18 U.S.C. §

12   3582(c)(2) does not permit a full re-sentencing of the defendant or a consideration

13   of other sentencing factors outside of the scope of the applicable guidelines

14   amendment. U.S.S.G. § 1B1.10(a)(3), (b)(1).

15   A.    Eligibility for Sentence Reduction

16         First, a defendant may be eligible for a sentence reduction if: (1) one of the

17   amendments listed in U.S.S.G. § 1B1.10(d) applies to the defendant’s conduct, (2)

18   such reduction actually lowers the defendant’s sentencing range, (3) such reduction

19   does not lower the defendant’s sentence to a term less than the minimum of the

20   guidelines range, and (4) such reduction does not lower the defendant’s sentence to



     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 3
     Case 2:12-cr-00049-RMP      ECF No. 522    filed 07/21/15   PageID.2950 Page 4 of 7




 1   a term of incarceration less than the term of incarceration already served. See

 2   U.S.S.G. § 1B1.10(a)-(b). A further limitation is placed on drug offenses pursuant

 3   to Amendment 782 and prohibits a court from reducing a term of incarceration

 4   based on Amendment 782 unless the effective date of the court’s order is

 5   November 1, 2015 or later. U.S.S.G. § 1B1.10(e)(1).

 6         Both parties agree that Wright is eligible for a sentence reduction in

 7   accordance with Amendment 782 to the Sentencing Guidelines. ECF No. 295 at 2-

 8   3; ECF No. 296 at 3-5. Additionally, the parties agree that applying Amendment

 9   782 to Wright’s case reduces the base offense level from 22 to 20. ECF Nos. 520

10   and 521. After the 3-level reduction for acceptance of responsibility and timeliness

11   pursuant to U.S.S.G. § 3E1.1(a)-(b), Wright’s total offense level is 17. Coupled

12   with Wright’s criminal history category of IV, Wright’s new amended sentencing

13   range is 51 – 63 months. Therefore, the Court finds that Wright’s lowest possible

14   amended sentence is 51 months.

15         Returning to the factors regarding eligibility for sentence reduction, the

16   Court finds that Wright is eligible. First, Wright’s conduct is covered by

17   Amendment 782, one of the listed retroactive amendments in U.S.S.G. §

18   1B1.10(d). Second, as discussed above, the reduction actually lowers Wright’s

19   sentencing range. Third, a reduction to as low as 51 months does not lower

20   Wrights’s sentence to a term less than the minimum of the guidelines range for a



     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 4
     Case 2:12-cr-00049-RMP      ECF No. 522    filed 07/21/15   PageID.2951 Page 5 of 7




 1   Total Offense Level of 17, with a criminal history category of IV. Fourth, a

 2   reduction to as low as 51 months would not lower Wright’s term of incarceration

 3   to less than the term that he already has served. Therefore, the Court finds that

 4   Wright is eligible for a sentence reduction under § 3582(c)(2).

 5   B.    Evaluation of 18 U.S.C. § 3553(a) Factors

 6         Second, once a defendant is deemed eligible for a sentence reduction, courts

 7   determine whether the reduction is warranted based on an evaluation of the 18

 8   U.S.C. § 3553(a) sentencing factors. 18 U.S.C. § 3582(c)(2). Though all of the 18

 9   U.S.C. § 3553(a) are considered to the extent that they are applicable, courts shall

10   pay particular attention to the nature and seriousness of the danger of the defendant

11   to any person or the community that may be posed by a sentence reduction.

12   U.S.S.G § 1B1.10, comment (1)(B)(ii). Additionally, courts may consider the

13   post-sentencing conduct of the defendant that occurred after the imposition of the

14   term of incarceration. U.S.S.G. § 1B1.10, comment (1)(B)(iii).

15         Wright alleges that his behavior while in custody warrants a sentence

16   reduction. ECF No. 520 at 1-2. Wright has participated in ten inmate education

17   programs since his incarceration began. ECF No. 520 at 2. Furthermore, Wright

18   has not incurred any reported disciplinary violations while incarcerated. ECF No.

19   521 at 7.

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     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 5
     Case 2:12-cr-00049-RMP       ECF No. 522    filed 07/21/15   PageID.2952 Page 6 of 7




 1         The government contends that, despite Wright’s clean record, a sentence

 2   reduction is inappropriate in this case because of Wright’s criminal history. ECF

 3   No. 521 at 4-7. Wright’s record contains numerous violations for driving without a

 4   license, driving while under the influence, theft, possession of narcotics or drug

 5   paraphernalia, and his recent conviction for distribution of heroin. ECF No. 521 at

 6   6-7. However, the Court previously determined that, despite Wright’s criminal

 7   history, a sentence at the bottom of the guideline range was appropriate. The Court

 8   finds that a similar sentence at the bottom of the guideline range is still appropriate.

 9         After a consideration of the applicable 18 U.S.C. § 3553(a) factors, the

10   Court finds that a reduction of Wright’s sentence is warranted. As indicated by the

11   sentencing adjustments, Wright accepted responsibility for the offense charged in a

12   timely manner. Since his conviction, he has participated in several educational

13   opportunities and not been involved in any disciplinary violations. Moreover, a

14   51-month term of incarceration is sufficient to reflect the seriousness of the

15   offense, to promote respect for the law, and to provide just punishment for the

16   offense. See 18 U.S.C. § 3553(a)(2)(A). The reduced sentence also is sufficient to

17   provide adequate deterrence to the defendant and to protect the public from further

18   crimes of the defendant. See 18 U.S.C. § 3553(a)(2)(B)-(C).

19         Based on these considerations, the Court exercises its discretion to grant a

20   sentence reduction in this case.



     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 6
     Case 2:12-cr-00049-RMP     ECF No. 522    filed 07/21/15   PageID.2953 Page 7 of 7




 1         Accordingly, IT IS HEREBY ORDERED:

 2         1. Samuel William Wright’s Motion for Sentence Reduction, ECF No. 520,

 3   is GRANTED.

 4         2. Defendant Wright’s sentence of incarceration is reduced to 51 months.

 5         3. The effective date of this Order is November 1, 2015.

 6         IT IS SO ORDERED.

 7         The District Court Clerk is directed to enter this Order and provide copies to

 8   counsel and to the United States Probation Office.

 9         DATED this 21st day of July 2015.

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11                                               s/ Rosanna Malouf Peterson
                                            ROSANNA MALOUF PETERSON
12                                         Chief United States District Court Judge

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     ORDER GRANTING DEFENDANT’S MOTION FOR SENTENCE
     REDUCTION ~ 7
